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    4              -and-
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    5       HYNES & LERACH
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          Telephone: 619/231-1058                                                ~F
    7
                                                             ~`~~~~
    8     WRIGHT & BONDS
          EDWARD L. WRIGHT                   '___      C,~            ,
    9     212 Center Street, Suite 900              ``'~~,
          Little Rock, AR 72201
   10     Telephone: 501/376-2500                                         ..~,~_~--    F
                                                                                         ~ r
                                                                                      ~~~~ ~f
   11     LAW OFFICES OF STEVEN E. CAULEY
          STEVEN E. CAULEY
   12     400 West Capitol, Suite 1731                                          ~rT ~ 31995
          Little Rock, AR 72201
   13     Telephone: 501/375-1200

   14     Attorneys for Plaintiff

   15

   16                         UNITED STATES DISTRICT COURT

   17.                      CENTRAL DISTRICT OF CALIFORNIA

   18 1                               WESTERN DIVISION

   19
          MARK PFEZFER, On Behalf of          NO. CV-94-1862-ABC (BRx)
   20     Himself',,and All Others
          Similarly.Situated,                 CLASS ACTION
  21
                         Plaintiff,          [PAD] ORDER AWARDING
  22                                         PLAINTIFF'S COUNSEL'S FEES AND
                                             EXPENSES
  2.3          vs.
                                             [SUPERSEDES EARLIER-FILED
  24                                         PROPOSED ORDER]
          THOMAS A. McFALL, et al.,
  25                                         DATE:      October 23, 1995   r~~.~~
                         Defendants.         TIME:      11:00 a.m.
  26                                         CTRM:.     Hon. Audrey B. ollins

  27
               THIS MATTER having come before the Court on Octo'e '~3f                          95
  28
          on the application of Representative Plaintiff's Couns                         fo
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                                                               r"




    1 ' award of attorneys' fees and reimbursement of expenses incurred in

    2   the above-captioned action; the Court, having considered all

    3   papers filed and proceedings conducted herein, having found the

    4   Settlement of this action to be fair, reasonable and adequate and

    5   otherwise being fully informed in the premises and~good cause

    6   appearing therefor, it is hereby ORDERED, ADJUDGED AND DECREED

    7   that:

    8

    9        1.    All of the capitalized terms used herein shall have the

   10   same meaning as set forth in the Stipulation of Settlement dated

   11   as of May 3, 1995.

   12

   13        2.    This Court has jurisdiction over the subject matter of

   14   this application and all matters relating thereto, including all

   15   members of the certified class who have not timely and validly

   16   requested exclusion.

   17

   18        3.    The Court hereby awards Representative Plaintiff's

   19   Counsel attorneys' fees in the amount of thirty percent (300) of

   20   the Settlement Fund plus litigation expenses incurred in an

   21   aggregate amount of T''_ ~"-'~--~3~-~~together with the interest earned

  22    thereon for the same period and at the same rate as that earned on

  23    the cash portion of the Settlement Fund until paid.               Said fees

  24    shall be allocated as follows:          22.60 to Wright & Bonds; and 77.40

  25    to Milberg Weiss Bershad Hynes. & Lerach and the Law Offices of
  26    Steven E. Cauley to be divided between those two firms in
  27    accordance with their agreement.           The expenses shall be allocated

  28    as follows:   T _ , _ __ - _ _ to Wright & Bonds ~~:-rrd~-~   -     to Milberg

                                                2.
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                                                   ~~   ~:~~u i~fir' ~.~ '~ c~-                  4   Y

                                                                                    of
           Weiss Bershad Hynes & Lerac              The Court finds that the amount
    1
                                             e               under the "percentage of
    2      fees awarded is fair and reasonabl

    3      recovery" method.

    4
                                                                       enses and interest
    5                4.   The awarded attorneys' fees and exp
                                            Pla              intiff's settlement counsel
    6      earned thereon, shall be paid to
                                                         days after the date this Order
           named above within three business
                                                         conditions and obligations of
           is executed subject to the terms,
                                                         in particular ¶ 7.2 thereof
    ~l     the Stipulation of Settlement and
                                                    igations are incorporated herein.
   10      which terms, conditions and obl

   11

   12                IT IS SO ORDFsRED.

   13                                                                        -
                          ~ C'~ c~- 3 ~ /5 ~.~ ~                    - ~~~~✓
           DATED:
   14                                              THE HON f2.ABLE AUDREY B. COLLINS
                                                   UNITED STATES DISTRICT JUDGE
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           75092.1

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                                                        3.
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    1                                 PROOF OF SERVICE

    2   STATE OF CALIFORNIA

    3 I I COUNTY OF LOS ANGELES

    4        I am employed in the County of Los .Angeles, State of
                                                                       within
        California, I am over the age of 18 and not a party to the
                                   s is 300 South Grand Avenue, _ 29th  Floor,
    5   action; my business addres
        Los Angeles, California 90071.
    6
             On October 16, 1995, I served the foregoing document:
                                                                          ES
    7   [PROPOSED] ORDER AWARDING PLAINTIFF'S COUNSEL'S FEES AND EXPENS
                                   s in this action in a sealed envelo pe
        upon the interested partie
    8   addressed as follows:

    9   Steven E. Cauley                          John E. Grasberger
        LAW OFFICES OF STEVEN E.                  MILBERG WEISS BERSHAD HYNES &
   10   CAULEY                                      I~ERACH
        400 West Capitol, Suite 1731              222 Kearny Street, 10th Floor
   11   Little Rock, AR 72201                     San Francisco, CA 94108

   12   Travis E. Downs, III                      Daniel P. Lefler
        MILBERG WEISS BERSHAD HYNES &             IRELL & MANELLA
   13     LERACH                                  1800 Avenue. of the Stars
        600 West Broadway, Suite 1800             Suite 900
   14   San Diego, CA 92101-5050 .                Los Angeles, CA 90067-4276

   15   Joel. A. Feuer
        GIBBON, DUNN & CRUTCHER
   16   333 South Grand Avenue
        Los Angeles, CA 90071-3197
   17
                                                                   e
   18   (X) (By Mail [Federal]) I placed such envelope with postag
                                     United States mail at Los Angele s,
        thereon fully prepaid in the
   19   California.
                                                                          rnia.
   20   (X)       Executed on October 16, 1.995, at Los Angeles, Califo
                                                             office of a
   21   (X) (Federal) I declare that I am employed in the
                                        at whose direct ion the service was
        member of the bar of this Court
   22   made.

   23

   24                                                    L ~
                                                  Zelene C. Hall
   25
        75092.1
   26

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                                             4.
